      CASE 0:17-cr-00107-DWF-TNL         Doc. 394      Filed 09/29/17   Page 1 of 6




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                           Criminal No. 17-107(20) (DWF/TNL)

                    Plaintiff,

v.                                                     ORDER AND MEMORANDUM

Waralee Wanless,
a/k/a Wan,
a/k/a Warlee Duarte,
a/k/a Warlee Alcaraz,

                    Defendant.


      This matter is before the Court pursuant to Defendant Waralee Wanless’s Motion

for Reconsideration of Detention Order. (Doc. No. 326.) On August 29, 2017, the

United States of America (the “Government”) filed a Response in Opposition to Motion

to Reconsider Detention Order. (Doc. No. 346.)

      On September 28, 2017, a detention hearing was held before the Court. At the

hearing, the Court took the matter under advisement.

                                           ORDER

      1.     Defendant Waralee Wanless’s Motion for Reconsideration of Detention

Order (Doc. No. [326]) is respectfully DENIED.

Dated: September 29, 2017               s/Donovan W. Frank
                                        DONOVAN W. FRANK
                                        United States District Judge
      CASE 0:17-cr-00107-DWF-TNL          Doc. 394     Filed 09/29/17    Page 2 of 6




                                   MEMORANDUM

       Defendant Waralee Wanless was indicted as a member of an international

sex-trafficking and money-laundering organization. The Second Superseding Indictment

(“Indictment”) before the Court charges Defendant with Conspiracy to Commit Sex

Trafficking, in violation of 18 U.S.C. § 1594 (Count 1); Conspiracy to Commit

Transportation to Engage in Prostitution, in violation of 18 U.S.C. § 371 (Count 3);

Conspiracy to Engage in Money Laundering, 18 U.S.C. § 1956 (Count 4); and

Conspiracy to Use a Communication Facility to Promote Prostitution, 18 U.S.C. § 371

(Count 5). (Doc. No. 314.)

       Defendant moved to the United States in 2008 from Thailand and settled in the

Dallas area. Defendant is a legal permanent resident. Defendant still has many ties to

Thailand: Her father, siblings, and adult child live there. Since coming to the

United States, Defendant has allegedly held a number of different jobs, including

importing coffee from Thailand, a dry cleaner, and most recently as an Uber and Lyft

driver. Defendant admits that she has traveled to Thailand as recently as October 2016,

and that she and her now-husband abruptly canceled their wedding there in March 2017,

opting to marry in the United States in February 2017.

       Defendant is alleged to be one of the traffickers and of the one house bosses for

the sex-trafficking organization. The Indictment contains allegations that Thailand-based

traffickers would transport victims from Thailand to the United States. Traffickers would




                                             2
      CASE 0:17-cr-00107-DWF-TNL            Doc. 394     Filed 09/29/17      Page 3 of 6




then hold a significant bondage debt over the victims. Traffickers in the United States,

like Defendant, would then buy the bondage debt.

       Defendant is also an accused house boss. House bosses are alleged to have run the

day-to-day operations, including advertising victims for commercial sex acts, procuring

and maintaining the houses of prostitution, scheduling sex buyers, and ensuring that a

portion of the cash was routed back to pay down the victims’ bondage debts. (Indictment

¶ 5(b).) In exchange, house bosses retained a significant portion of the cash that the

victims receive, typically forty percent. (Id.) House bosses would also coordinate with

traffickers and other house bosses to facilitate the victims’ travel to other cities in the

United States. Once victims were lured to the United States, they were forced to work

long hours—often all day, every day—having sex with strangers to attempt to pay down

their bondage debt. Victims typically did not have the ability to choose with whom they

had sex, what sex transactions they would engage in, or when they would have sex. In as

early as 2013, law enforcement observed activities and received reports of activity at

Defendant’s apartment consistent with running an active house of prostitution.

       On May 25, 2017, the Honorable Paul D. Stickney in the District Court for the

Northern District of Texas, Dallas Division, ordered Defendant detained pending trial.

Defendant now moves this Court to reconsider the Magistrate Judge’s decision. The

district court conducts a de novo review of release and detention orders.




                                               3
      CASE 0:17-cr-00107-DWF-TNL            Doc. 394     Filed 09/29/17     Page 4 of 6




       Pursuant to Rule 46(b) of the Federal Rules of Criminal Procedure and 18 U.S.C.

§ 3142, the Court considered the following factors in assessing the continued detention of

Defendant:

       (1)    the nature and circumstances of the offense charged, including
              whether the offense involves . . . a minor victim;

       (2)    the weight of the evidence against the person;

       (3)    the history and characteristics of the person, including—

              (A)     the person’s character, physical and mental condition,
                      family ties, employment, financial resources, length of
                      residence in the community, community ties, past
                      conduct, history relating to drug or alcohol abuse,
                      criminal history, and record concerning appearance at
                      court proceedings; and

              (B)     whether, at the time of the current offense or arrest, the
                      person was on probation . . . .

       (4)    the nature and seriousness of the danger to any person or the
              community that would be posed by the person’s release.

       Pretrial detention may be ordered either upon a clear and convincing showing that

release would result in a danger to the community or upon a showing by a preponderance

of the evidence that the release will result in a serious risk of flight. United States v.

Abad, 350 F.3d 793, 797 (8th Cir. 2003); United States v. Sazenski, 806 F.2d 846, 848

(8th Cir. 1986). Additionally, if a court “finds that there is probable cause to believe that

the person committed an offense under chapter 77 of [Title 18] for which a maximum

term of imprisonment of 20 years or more is prescribed,” then the court employs a

rebuttable presumption that “no condition or combination of conditions will reasonably

                                               4
      CASE 0:17-cr-00107-DWF-TNL           Doc. 394    Filed 09/29/17     Page 5 of 6




assure the appearance of the person as required and the safety of the community.”

18 U.S.C § 3142(e)(3)(D).

       Here, Defendant has been charged with Conspiracy to Commit Sex Trafficking by

Force, Fraud, and Coercion, in violation of 18 U.S.C. § 1594 (Count 1), a Chapter 77

offense punishable by up to life in prison. Defendant was both a trafficker and a house

boss, and the Government has proffered a witness’s statement of Defendant’s role. Given

these particular allegations, there is probable cause to believe that Defendant committed

Count 1 of the Indictment. As a result, Defendant must overcome the rebuttable

presumption of detention.

       “In a presumption case such as this, a defendant bears a limited burden of

production—not a burden of persuasion—to rebut that presumption by coming forward

with evidence he does not pose a danger to the community or a risk of flight.” UAbad,

350 F.3d at 797 (quoting United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)).

Once a defendant has met his burden, a presumption favoring detention “remains a factor

to be considered among those weighed by the district court.” Id.

       Based upon all of the facts and circumstances of this case, the Court concludes

that Defendant has failed to overcome the presumption of detention. The Court notes that

Defendant is facing up to life in prison, has few ties to the United States or Minnesota,

and has many ties to Thailand. Moreover, the criminal organization is ongoing, and a

person in Defendant’s position, with the help from the organization, could find a way to

flee to Thailand. These factors weigh heavily toward detention.

                                             5
      CASE 0:17-cr-00107-DWF-TNL          Doc. 394     Filed 09/29/17    Page 6 of 6




       Defendant’s arguments to the contrary are unpersuasive. Defendant focuses on

possible conditions that would prevent her escape. Specifically, Defendant proposes that

she post a bond, surrender her passport, forgo using any communication devices, and be

confined to her home. These proposed conditions, however, do not overcome the

presumption of detention. The Government has repeatedly pointed out that it cannot stop

Defendant, as a Thai national, from obtaining a new passport from the Thai government.

Additionally, the Government contends that Defendant has access to substantial illicit

funds. Moreover, the criminal organization is ongoing and Defendant is facing life in

prison, Defendant therefore could (with or without help) find a way to flee to Thailand,

where she has close family. Further, some of Defendant’s proposed conditions

essentially cannot be monitored. For example, how would the Government confirm that

Defendant—who would live with her husband—did not use or possess a cellphone or

access the Internet? Accordingly, given the seriousness of the allegations, the ongoing

nature of the organization, Defendant’s purported access to illicit funds, and Defendant’s

lack of ties to the United States and many ties to Thailand, the Court concludes that

Defendant has not overcome the presumption that no condition or combination of

conditions will reasonably assure her appearance. As a result, the Court denies the

Defendant’s motion to reconsider the order of detention.

                                          D.W.F.




                                             6
